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                         EXHIBIT 6
 Case 1:22-cv-10904-JSR Document 187-6 "UUPSOFZTh&ZFT0OMZ
       .BSZ$BTFZ$POGJEFOUJBM       Filed 06/15/23 Page 2 of 9


   6/*5&%45"5&4%*453*$5$0635
     '035)&4065)&3/%*453*$50'/&8:03,

     (07&3/.&/50'5)&6/*5&%
   45"5&47*3(*/*4-"/%4
     
   1MBJOUJGG 
     
   WT DW+43
     
   +1.03("/$)"4&#"/, /" 
     
   %FGFOEBOU5IJSE
     1BSUZ1MBJOUJGG
   @@@@@@@@@@@@@@@@@@@@@@@@@
     +1.03("/$)"4&#"/, /"
   
     5IJSE1BSUZ
   1MBJOUJGG 
     
   WT
     
   +".&4&%8"3%45"-&: 
     
   5IJSE1BSUZ
     %FGFOEBOU


   '3*%": "13*- 
   $0/'*%&/5*"-"5503/&:4h&:&40/-:
   ooo
   7JEFPUBQFEEFQPTJUJPOPG.BSZ
     $BTFZ IFMEBUUIFPGGJDFTPG#PJFT4DIJMMFS
   'MFYOFS 4&OE4USFFU 4VJUF
     .JBNJ 'MPSJEB DPNNFODJOHBUBN
   &BTUFSO POUIFBCPWFEBUF CFGPSF$BSSJF"
     $BNQCFMM 3FHJTUFSFE%JQMPNBUF3FQPSUFS
   $FSUJGJFE3FBMUJNF3FQPSUFS *MMJOPJT
     $BMJGPSOJB5FYBT$FSUJGJFE4IPSUIBOE
   3FQPSUFS .JTTPVSJ ,BOTBT -PVJTJBOB/FX
     +FSTFZ$FSUJGJFE$PVSU3FQPSUFS
   ooo
   (0-,08-*5*("5*0/4&37*$&4
     %&14
   EFQT!HPMLPXDPN


(PMLPX-JUJHBUJPO4FSWJDFT                                      1BHF
 Case 1:22-cv-10904-JSR Document 187-6 "UUPSOFZTh&ZFT0OMZ
       .BSZ$BTFZ$POGJEFOUJBM       Filed 06/15/23 Page 3 of 9


   2"OEJO ZPVXFSFEPJOHB
   %%3POUIFGJOBODJBMUSVTUBDDPVOU DPSSFDU
   "*EPOhULOPXGSPNUIJTBSUJ
   GSPNUIJTFNBJM
   24PJGZPVXBOUUPUVSOUPUIF
   BSUJDMF ZPVhMMTFFJUhTBOBSUJDMFFOUJUMFE
   5IF5BMFOUFE.S&QTUFJO EBUFE.BSDI
   JO7BOJUZ'BJS
   $PSSFDU
   "$PSSFDU
   2"OEUIJTBSUJDMF *XJMM
   SFQSFTFOUZPV .T$BTFZ XBTBMSFBEZ
   EJTDVTTFEBUUIFEFQPTJUJPOPG+1.PSHBOhT
   DPSQPSBUFSFQUIBUIBQQFOFECFGPSFZPVS
   EFQPTJUJPOUPEBZ
   )BWFZPVTFFOUIJTBSUJDMF
   CFGPSF
   "*EPOhUSFNFNCFSUIJTBSUJDMF
   CVU*TFFUIBUJUhTBUUBDIFEUPNZFNBJM
   20LBZ*GZPVXPVMEUVSOUP
   QBHFPG QMFBTF
   .3#6554"OE
   5)&8*5/&44%P*LOPXUIBU
   .3#6554:FBI FYBDUMZ
   *UhTTUBQMFEUPHFUIFS*UEPFTOhU


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 Case 1:22-cv-10904-JSR Document 187-6 "UUPSOFZTh&ZFT0OMZ
       .BSZ$BTFZ$POGJEFOUJBM       Filed 06/15/23 Page 4 of 9


   4PSSZ
   2:FT
   *O.BZPG ZPVhSF
   SFGFSFODJOHB7BOJUZ'BJSBSUJDMFBTJU
   SFMBUFTUPJOGPSNBUJPOBCPVUPOFPG+FGGSFZ
   &QTUFJOhTBDDPVOUT
   :PVXJMMTFFJO.BSDI
   UIFSFJTBOBSUJDMFDBMMFE5IF5BMFOUFE
   .S&QTUFJO
   %PZPVCFMJFWFUIBUJTUIF
   7BOJUZ'BJSBSUJDMFUPXIJDIZPVXFSF
   SFGFSSJOH
   "*EPOhULOPX
   2*GZPVXPVMEUVSOUPQBHFPG
    QMFBTF .T$BTFZ ZPVhMMTFFUIFCJH
   QBSBHSBQIUIBUCFHJOT"DDPSEJOHUP
   5IFUIJSEMJOFJUTBZT
   &QTUFJONBZIBWFHPPESFBTPOUPLFFQIJT
   QBTUDMPBLFEJOTFDSFDZ)JTSFBMNFOUPS JU
   NJHIUTFFN XBTOPU-FTMJF8FYOFSCVU4UFWFO
   +VEF)PGGFOCFSH 
   %PZPVTFFUIBU
   "*EP
   2%PZPVLOPXXIP4UFWFO+VEF
   )PGGFOCFSHJT


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 Case 1:22-cv-10904-JSR Document 187-6 "UUPSOFZTh&ZFT0OMZ
       .BSZ$BTFZ$POGJEFOUJBM       Filed 06/15/23 Page 5 of 9


   "/P
   2)FJTDVSSFOUMZJODBSDFSBUFE
   JOUIFGFEFSBMNFEJDBMDFOUFSJO%FWFOT
   .BTTBDIVTFUUT TFSWJOHBZFBSTFOUFODFGPS
   CJMLJOHJOWFTUPSTPVUPGNPSFUIBO
   NJMMJPOJOPOFPGUIFMBSHFTU1PO[J
   TDIFNFTJO"NFSJDBOIJTUPSZ
   %PZPVTFFUIBU
   "*EP
   2"OEUIFOJUHPFTPOBOEUBMLT
   BCPVU 8IFO&QTUFJONFUPGG)PGGFOCFSHJO
   -POEPOJOUIFT UIFMBUUFSXBT
   DIBSJTNBUJD BVEBDJPVT IFBEPGUIF5PXFST
   'JOBODJBM$PSQPSBUJPO BDPMMFDUJPOBHFODZ
   UIBUXBTTVQQPTFEUPCVZEFCUTUIBUQFPQMF
   PXFEUPIPTQJUBMT CBOLTBOEQIPOF
   DPNQBOJFT
   %PZPVTFFUIBU
   "*EP
   2"SFZPVGBNJMJBSXJUI5PXFST
   'JOBODJBM$PSQPSBUJPO
   "/P
   2*GJUhTUIFDBTFUIBUJO
   .T$BTFZ ZPVIBESFWJFXFEBOEGPSXBSEFEPO
   UIJT7BOJUZ'BJSBSUJDMFXJUISFTQFDUUP


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 Case 1:22-cv-10904-JSR Document 187-6 "UUPSOFZTh&ZFT0OMZ
       .BSZ$BTFZ$POGJEFOUJBM       Filed 06/15/23 Page 6 of 9


   +FGGSFZ&QTUFJO XPVMEJUIBWFDBVTFEZPVUP
   BTLBOZRVFTUJPOTPSIBEBOZDPODFSOTBCPVU
   SFQSFTFOUJOH+FGGSFZ&QTUFJO
   .3#65540CKFDUJPO'PSN
   :PVNBZBOTXFS
   5)&8*5/&44*UXBTB
   OFXTQBQFSBSUJDMF0SBNBHB[JOF
   BSUJDMF
   26&45*0/4#:.4-*6
   2*UXBTBOFXTQBQFSBSUJDMF
   EJTDVTTJOHUIFGBDUUIBUIFIBEXPSLFEXJUI
   TPNFPOFXIPXBTTFSWJOHBZFBSTFOUFODF
   GPSPOFPGUIFMBSHFTU1PO[JTDIFNFTJO
   "NFSJDBOIJTUPSZ
   8PVMEUIBUIBWFDSFBUFEBOZ
   DPODFSOTGPSZPVXJUISFTQFDUUPZPVS
   SFQSFTFOUBUJPOPG+FGGSFZ&QTUFJOBTB
   DMJFOU
   .3#65540CKFDUJPOUPGPSN
   :PVNBZBOTXFS
   5)&8*5/&44*UXPVMECFPOF
   EBUBQPJOUXJUIJONBOZ
   26&45*0/4#:.4-*6
   25IBOLZPV
   :PVhSFBXBSF .T$BTFZ UIBU


(PMLPX-JUJHBUJPO4FSWJDFT                                     1BHF
 Case 1:22-cv-10904-JSR Document 187-6 "UUPSOFZTh&ZFT0OMZ
       .BSZ$BTFZ$POGJEFOUJBM       Filed 06/15/23 Page 7 of 9


   FOHBHFEJOTJNJMBSDPOEVDUBT+1.PSHBO$IBTF
   BOEXBTTBODUJPOFENJMMJPOGPSUIBU
   DPOEVDU
   "*EPOhULOPX
    $BTFZ&YIJCJUNBSLFEGPS
   JEFOUJGJDBUJPO
   26&45*0/4#:.4-*6
   2"MMSJHIU:PVhSFCFJOHIBOEFE
   XIBUXBTKVTUNBSLFEBT&YIJCJU"OEUIJT
   XBTBEVFEJMJHFODFSFQPSUPO+&(& *OD
   %PZPVTFFUIBU
   "*EP
   2"OEKVTUTPXFDBONPWFUISPVHI
   JURVJDLMZ *hMMSFQSFTFOUUPZPVUIBUhTPOF
   PG JGZPVEPOhUSFDBMM +FGGSFZ&QTUFJOhT
   BDDPVOUT
   %PFTUIBUOBNFSJOHBCFMM
   "*UEPFTOPU
   20LBZ8FMM JGZPVUVSOUP
   #BUFT
   "6IIVI
   2ZPVhMMTFFVOEFS$PNNFOUT
   UIFMBTUQBSBHSBQITBZT &QTUFJOJT
   XFMMLOPXOUPTFWFSBM+1.PSHBOQSJWBUFCBOL
   FNQMPZFFTBOEUP+FT4UBMFZ


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   %PZPVTFFUIBU
   "*EP
   2.S&QTUFJOXBTDPOWJDUFEPGB
   GFMPOZDIBSHFJOBOEJTDVSSFOUMZ
   TFSWJOHBONPOUIQSJTPOTFOUFODF
   %PZPVTFFUIBU
   "*EP
   2+FT4UBMFZDPOGFSSFEXJUI
   4UFQIFO$VUMFS BOEUIFEFDJTJPOXBTNBEFUP
   LFFQ.S&QTUFJOBTBQSJWBUFCBOLDMJFOU
   %PZPVTFFUIBU
   "*EP
   20LBZ"OEUIFOJUHPFTPOBOE
   TBZT 4UBMFZBOEQSJWBUFCBOLUIFOEFDJEFE
   UIBUIJTQSJWBUFCBOLSFMBUJPOTIJQXJMMCF
   GPSCBOLJOHBOEDVTUPEZPOMZ8FOPMPOHFS
   QSPWJEFCSPLFSBHFFYFDVUJPODBQBCJMJUJFTGPS
   .S&QTUFJOhTBDDPVOUT
   %PZPVTFFUIBU
   "*EP
   2"OEJOTUFBE #FBS4UFBSOT
   XIJDIBUUIJTQPJOUXBTBDRVJSFECZ+1.PSHBO
   SJHIU
   "5IJTJTSFNJOENFUIFEBUF
   BHBJO 5IJTJT


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 Case 1:22-cv-10904-JSR Document 187-6 "UUPSOFZTh&ZFT0OMZ
       .BSZ$BTFZ$POGJEFOUJBM       Filed 06/15/23 Page 9 of 9


   2
   "*CFMJFWFUIJTEPDVNFOUOP
   UIJTJT JTJUOPU )PMEPO
   28FMM UIJTJTXIJMFIFhT
   TFSWJOHIJTPLBZ4PJUhTUIJTJT
   CFJOHXSJUUFO*hMMXJUIESBXUIFRVFTUJPO
   BCPVU#FBS4UFBSOT-FUhTHP
   ":FBI CFDBVTF*EPOhUFYBDUMZ
   LOPXUIFEBUFUIBUXF
   2:FBI *SFBMMZEPOhUIBWFB
   RVFTUJPOPO#FBS4UFBSOT
   "0LBZ
   28IFSFJTUIFSFUIFSBUJPOBMF
   GPSUIFEFDJTJPOUPDPOUJOVFUIFSFMBUJPOTIJQ
   XJUI+FGGSFZ&QTUFJO
   "*GZPVMPPLJOUIJTXFMM
   JUhTCPUIJOUIFXFMM UIFTVNNBSZPG
   GJOEJOHT JGZPVXJMM JOUIFNJEEMFPG
   QBHF
   2(PBIFBE
   "+FT4UBMFZDPOGFSSFEXJUI
   4UFQIFO$VUMFS BOEUIFEFDJTJPOXBTNBEFUP
   LFFQ.S&QTUFJOBTB1#DMJFOU
   28FMM UIBUUFMMTVTUIBUB
   EFDJTJPOXBTNBEFUPDPOUJOVFUIF


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